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UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

No, 25-1555
Atlas Data Privacy Corp.,etal. ——-yg,_We Inform LLC, et al. ee
ENTRY OF APPEARANCE

Please list the names of all parties represented, using additional sheet(s) if necessary:
The National Association of Assistant United States Attorneys, New Jersey State Policemen’s Benevolent
Association, National Association of Police Organizations, and Federal Bureau of Investigation Agents Association

Indicate the party’s role IN THIS COURT (check only one):
{ |. Petitioner(s) El Appellant(s) [ | Intervenor(s)
[ | Respondent(s) LE 4 Appellee(s) Amicus Curiae

(Type or Print) Counsel’s Name Rebekah R. Conroy, Esq.

LI Mr. Ms. EL Mrs. TI Miss {| Mx.

Firm STONE CONROY LLC

Address 254 HANOVER ROAD - SUITE 301

City, State, Zip Code FLORHAM PARK, NEW JERSEY 07992

Phone 973-400-4181 Fax 973-498-0070

Primary E-Mail Address (required) RCONROY@STONECONROY,COM
Additional E-Mail Address (1) BRODRIGUEZ@STONECONROY.COM

Additional E-Mail Address (2)
Additional E-Mail Address (3)

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ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attomey
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV, 10/20/2020
